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 6   VI TRUONG
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   Case No. 2:09-cr-00421 GEB
12                 Plaintiff,                    STIPULATION AND [PROPOSED]
                                                 ORDER ADDING CONDITION OF
13           v.                                  RELEASE
14   VI TRUONG,
15              Defendant.
     ______________________________/
16
17           PURSUANT TO the recommendation and request of Pretrial Services,
18           IT IS HEREBY STIPULATED, and respectfully requested, by Douglas Horngrad,
19   counsel for defendant Vi Truong, and Jason Hitt, counsel for plaintiff United States of
20   America, that the conditions of Mr. Vi Truong’s release be modified to include the
21   requirement that Vi Truong participate in a program of medical or psychiatric treatment,
22   including treatment for drug or alcohol dependency, as approved by the pretrial services
23   //
24   //
25   //
26   //
27   //
28   //
       Case 2:09-cr-00421-TLN Document 75 Filed 06/08/11 Page 2 of 2


 1   officer.
 2
            IT IS SO STIPULATED
 3
 4   Dated: June 3, 2011                /s/ Douglas Horngrad
                                        DOUGLAS HORNGRAD
 5                                      Attorney for Defendant
                                        VI TRUONG
 6
 7
 8   Dated: June 3, 2011                /s/ with consent
                                        JASON HITT
 9                                      Assistant United States Attorney
10
11          IT IS SO ORDERED.
12
13   Dated: June 8, 2011

14
15                                   GARLAND E. BURRELL, JR.
                                     United States District Judge
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